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                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                       )
BEAN LLC d/b/a FUSION GPS,             )
                                       )
                  Plaintiff,           )
                                       )
                  v.                   )
                                       ) Civil Action 17-cv-2187-RJL
DEFENDANT BANK,                        )
                                       )
                  Defendant,           )
                                       )
                  and                  )
                                       )
PERMANENT SELECT COMMITTEE             )
ON INTELLIGENCE OF THE U.S.            )
HOUSE OF REPRESENTATIVES,              )
                                       )
                  Defendant-Intervenor.)
                                       )

                    NOTICE OF ADDITIONAL RECORD EVIDENCE

       Fusion GPS (“Fusion”) respectfully submits this notice as a supplement to the record in

support of its motion for a preliminary injunction.     Fusion has repeatedly argued that the

subpoena that the House Permanent Select Committee on Intelligence (“HPSCI” or

“Committee”) sent to Defendant Bank was part of an ongoing effort to discredit Fusion in

retaliation for its role in undertaking research into then-presidential candidate Donald Trump

during the 2016 election. See, e.g., Reply in Supp. of Pl.’s Renewed Application for a Temp.

Restraining Order, ECF No. 35-5, at 2-3, 8-9; Hr’g Tr. 22-23, Nov. 30, 2017; id. at 42. The

Supreme Court has recognized that “[i]nvestigations conducted solely for personal

aggrandizement of the investigators or to ‘punish’ those investigated are indefensible.” Watkins

v. United States, 354 U.S. 178, 187 (1957). In the days since the November 30, 2017 hearing on

Fusion’s motion for a preliminary injunction, new evidence of the improper and punitive nature
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of the Committee’s subpoena and of retaliatory leaks from the investigation have come to light.

For example:

   •   On November 30, the New York Times reported that President Trump had personally
       urged an unnamed Republican senator “to begin an investigation into Hillary Clinton’s
       connection with the intelligence-gathering firm Fusion GPS, which produced a dossier of
       allegations about Mr. Trump’s ties to Moscow.” See Ex. A at 6. President Trump
       himself has tweeted and stated his view that Fusion should be investigated. See, e.g., Ex.
       B at 1.

   •   On December 1, Senator Sheldon Whitehouse, a member of the Senate Judiciary
       Committee, questioned whether that undue influence from the President had prompted
       the intense focus on Fusion. In a tweet in response to the New York Times article
       referenced above, Whitehouse said, “Is this this why full Judiciary hearings have veered
       in this direction instead of Russia/obstruction?” Ex. C.

   •   On December 1, media outlets reported that President Trump’s former national security
       advisor, and campaign and transition adviser, General Michael T. Flynn, had pleaded
       guilty to lying to the FBI about conversations he had with Russian officials, including the
       Russian ambassador, during the transition period. Ex. D. Flynn’s guilty plea arising
       from his dealings with Russian contacts substantiates further the account of the so-called
       “dossier,” which is a powerful new incentive for the Committee to seek to discredit and
       retaliate against Fusion for commissioning this research.

   •   On December 3, House Intelligence Committee ranking member Adam Schiff said that
       he is “concerned . . . that our chairman [Devin Nunes] is willing to use the subpoena and
       contempt power of the House, not to determine how the Russians interfered in our
       election or whether the President obstructed Justice, but only to distract from the core of
       our investigation.” Ex. E at 4.

   •   On December 4, Senator Diane Feinstein, the minority chair of the Senate Judiciary
       Committee, which is also investigating Russian interference in the 2016 election, was
       quoted as stating: “I think there’s an effort [by majority Chairman Senator Grassley],
       subtle, not to go deeply,” “And I hadn’t realized it before, but I realize it now . . . . And
       we’re going to have to find a way to deal with it.” See Ex. F at 2. Indeed, someone on
       the Senate Judiciary Committee may have provided information to Congressman Nunes
       for use in the HPSCI investigation in order to circumvent the rules of the Senate Judiciary
       Committee. The Senate Judiciary Committee Chair lacks the unilateral authority to issue
       and serve a subpoena. See id. Rather, the rules require agreement from the chair and
       ranking member on subpoenas, in the absence of a full committee vote. See Rules of
       Procedure, United States Senate Committee on the Judiciary, Rule IX, available at
       https://www.judiciary.senate.gov/about/rules. Staff from the Senate Judiciary Committee
       indicated to Fusion co-founder Glenn Simpson, at his August 22, 2017 interview that
       Senate Judiciary Committee staff was aware of Fusion’s bank, asked Mr. Simpson about
       it by name, and Mr. Simpson confirmed that it was Fusion’s bank. Chairman Nunes then


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       unilaterally issued and served the October 4, 2017 subpoena on Defendant Bank, without
       the consent of the HPSCI ranking member or a full vote of the committee. Simpson
       Decl. ¶¶ 3-4.

   •   On December 5, it was reported that Special Counsel Mueller issued a subpoena to
       Deutsche Bank for information about the personal finances of President Trump and his
       organization. Ex. G. The news prompted Rep. Schiff to disclose to CNN that the
       Committee’s Republicans had refused to issue a subpoena to Deutsche Bank. Rep. See
       Ex. H. Schiff accused the Committee of maintaining “a troubling double standard.” Id.

   •   On December 7, multiple news outlets reported that a senior Department of Justice
       official, Bruce G. Ohr, was demoted from his position as Associate Deputy Attorney
       General, after “evidence collected by the House Permanent Select Committee on
       Intelligence (HPSCI), chaired by Rep. Devin Nunes R-Calif., indicates that Ohr met
       during the 2016 campaign with Christopher Steele, the former British spy who authored
       the dossier,” and “that Ohr met shortly after the election with Glenn Simpson, the founder
       of Fusion GPS.” Ex. I at 1. Simpson provided information about his meeting with Bruce
       Ohr at his voluntary interview before HPSCI on November 14, 2017. Simpson Decl. ¶ 6.
       As Fox News reported, “[t]he demotion of Ohr thus marked the second time within a
       matter of months that the Justice Department and the FBI have disciplined for
       misconduct a senior official connected in some form or fashion to the Trump-Russia
       case.” Id. at 2; see also Ex. J at 2; Ex. K (Nov. 30 Transcript) at 24:23-26:8 (discussing
       prior leaks related to the investigation).

   •   On December 11, Fox News reported that the wife of Mr. Ohr had been a Fusion
       subcontractor. Ex. L. Before producing bank records in response to the bank subpoena
       and voluntarily disclosing additional pieces of this information to HPSCI through Mr.
       Simpson’s November 14, 2017 interview, Ms. Ohr’s work for Fusion had been
       confidential. Simpson Decl. ¶ 5. On December 12, Fox News reported that “HPSCI staff
       confirmed to Fox News that [Ms. Ohr] was paid by Fusion GPS through the summer and
       fall of 2016.” Ex. M.

   •   On December 12, attorney Jay Sekulow, an attorney representing President Trump, called
       for the appointment of a new special prosecutor to investigate purported conflicts of
       interest in the Department of Justice and the FBI and focusing on Fusion. Ex. M.
       Sekulow’s call followed a tweet from Senator Lindsey Graham on December 8 that “I
       will be challenging R[epublican]s and D[emocrat]s on the Senate Judiciary Committee to
       support a Special Counsel to investigate ALL THINGS 2016 – not just Trump and
       Russia.” Id. Fox News reports that “[t]ogether, the details [of Mr. and Ms. Ohr’s contact
       with Fusion] have fueled Republican concerns about the objectivity of key officials at the
       DOJ and FBI.” Id.

       This new evidence further demonstrates that HPSCI’s subpoena to Defendant Bank is

part of a punitive effort by Chairman Nunes to retaliate against Fusion and to interfere with its

constitutional rights. As we have previously argued, HPSCI’s use of the subpoena is thus an

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improper and invalid exercise of congressional power. HPSCI is not using this subpoena to seek

information pertinent, or even relevant, to the Committee’s Russia investigation. Among other

things, compliance with this subpoena by Defendant Bank would violate Fusion’s due process

rights and would infringe Fusion’s First Amendment rights. The subpoena is an effort to harm

Fusion and its associates.      It seeks to divert attention away from, and interfere with, the

investigation and to expose Fusion’s associations with other individuals and entities that have

nothing to do with the Russia investigation.. “[T]here is no congressional power to expose for

the sake of exposure.” Watkins, 354 U.S. at 200. “Investigations conducted solely . . . to

‘punish’ those investigated are indefensible.” Id. at 187; see also Sweezy v. State of N.H. by

Wyman, 354 U.S. 234, 245 (1957) (recognizing that legislative investigations “are capable of

encroaching upon the constitutional liberties of individuals”).

          Accordingly, for the reasons articulated in Plaintiff’s motion for a preliminary injunction

and at the November 30, 2017 hearing, this Court should grant Plaintiff’s motion. In the event

the Court rules against Fusion’s motion, Fusion respectfully requests that the Court delay the

effective date of its order and the production of documents so that Fusion may request a stay in

this Court and, if necessary, in the D.C. Circuit, so that Fusion can fully vindicate its rights on

appeal.

Dated: December 12, 2017                               Respectfully submitted,

                                                       /s/ Steven M. Salky
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of December 2017, the foregoing was filed on the

Court’s CM/ECF system, thereby serving all counsel of record in this matter.




                                                 /s/ Rachel F. Cotton
                                                 Rachel F. Cotton
